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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION


 IN RE: DEERE & COMPANY REPAIR                            Case No.: 3:22-cv-50188
 SERVICES ANTITRUST LITIGATION                            MDL No. 3030

                                                          Hon. Iain D. Johnston



                                   JOINT STATUS REPORT

       Pursuant to the Court’s January 10, 2023 Order (ECF No. 108), the parties respectfully

submit this Joint Status Report, which sets forth the parties’ positions on the effect of the

Memorandum of Understanding entered into between Deere & Company (“John Deere”) and the

American Farm Bureau Federation on this action.

John Deere’s Position:

       Since entering the gas-powered tractor business in 1913, Deere has been helping customers

keep equipment running in the field. To that end, Deere has been and remains committed to

providing purchasers of Deere power equipment with a wide array of options for maintenance and

repairs, whether handled by farmers themselves, independent repair shops or authorized John

Deere dealers. Deere has long made available highly detailed repair information and tools—

including technical manuals, operator’s manuals, look-up of diagnostic codes, parts catalogs, quick

reference guides, educational curricula, and installation instructions—to equipment owners and

independent repair shops. The latest iteration of this commitment includes Deere’s Customer

Service ADVISOR (available from a John Deere dealership or directly from Deere), but the history

includes a literal library of schematics, parts catalogs, and repair manuals. Deere also continually

creates product information videos available via its YouTube channel, including many “how to”

clips about maintaining, adjusting, and troubleshooting equipment.


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       Over the years, as technical advances and regulations have allowed, Deere has expanded

repair resources available to customers and independent repair shops. Deere remains committed

to doing so. For example, in the U.S. in 2023, Deere will introduce long-planned expansions to

its Customer Service ADVISOR capabilities with new features that include transitioning certain

functionality to a more user-friendly, web-based experience and providing access to secure

software updates on select Deere equipment with 4G connections.

       The Memorandum of Understanding (“MOU”) is the latest embodiment of Deere’s

ongoing commitment to providing repair tools and resources and working alongside its customers

and their advocates in the months and years ahead. The MOU is the result of lengthy and

thoughtful negotiations with the American Farm Bureau Federation (“AFBF”), the “Voice of

Agriculture” representing nearly 6 million farmer and rancher families in all 50 states plus Puerto

Rico. 1 The MOU reflects the realities of maintaining and repairing today’s sophisticated

equipment given the regulations governing that equipment. It clarifies the availability of existing

repair resources and emphasizes Deere’s commitment to ensure repair resources are available for

customers and independent repair shops on fair and reasonable terms. MOU at Section II. A-C.

       Deere has consistently been at the forefront of the industry in working with its customers

and their advocates to address repair access, and will continue to do so despite Plaintiffs’ and

others’ attempts to malign their efforts. The MOU demonstrates Deere’s commitment to ongoing

collaboration with AFBF and the farm families they represent, including formalizing regular

opportunities (at least semi-annually) for Deere to discuss ongoing technological developments

and how these impact AFBF members. MOU at Section 1.D. How the MOU can be updated or



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         Who We Are: Farm & Ranch Families Working Together, AM. FARM BUREAU FED’N,
https://www.fb.org/about/who-we-are (last visited Jan. 27, 2023).


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improved and any concerns with its implementation will be part of such discussions. Id. The

MOU also anticipates there may be potential disagreement and provides a mechanism to help

ensure those issues are heard. MOU at Section IV.B.

        As laid out in the MOU, both Deere and AFBF believe that this type of direct dialog is the

best way to understand and alleviate any concerns with the availability of repair tools and

resources. MOU at Section III. In light of this, it is questionable whether Plaintiffs believe that

continued litigation is in their best interest or those of the proposed class. As detailed in its Fed.

R. Civ. P. 12(c) motion, Deere vigorously denies Plaintiffs’ allegations of wrongdoing, and will

continue to defend itself if Plaintiffs seek to maintain this litigation.

Plaintiffs’ Position:
        The Court’s January 10, 2023 docket entry requested that the parties “explain[] the effect

the memorandum of understanding between the Farm Bureau and John Deere providing for a right

to repair has on this MDL.” Rather than answer this simple question, Deere has chosen to

editorialize about the merits of the MOU, merits which, in Plaintiffs’ estimation, do not exist. In

answer to the Court’s inquiry, the MOU has no effect on the MDL. The MOU does not create

enforceable obligations nor release claims. The MOU is voidable by Deere, reprises past

undertakings which were unfulfilled, and amounts to a vague and uncertain commitment repeating

Deere’s historical narrative of conditioning the availability of tools on Deere’s unilateral decisions

concerning unspecified trade secrets, safety, and environmental issues, all of which are the subject

of this litigation.2




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          Several of these views are shared by the National Farmers Union and are set out in its
recent statement regarding the MOU. See Right to Repair, NAT’L FARMERS UNION,
https://nfu.org/wp-content/uploads/2023/01/FFF_R2R_01132023-1.pdf (last visited Jan. 27,
2023).


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       Moreover, Deere’s suggestion that this extrajudicial, unenforceable, and illusory compact

with a single agricultural trade group—of which Interim Co-Lead Counsel for Plaintiffs had

neither knowledge of nor involvement in—is “in the best interests of the class” represents an

attempt to interpose itself into the fiduciary relationship which exists between class representatives

(represented parties) and Class Counsel on the one hand and the putative class on the other and to

circumvent the procedures and roles defined in Federal Rule of Civil Procedure 23.

Dated: January 27, 2023

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